
99 N.Y.2d 529 (2002)
JONATHAN M. LANDSMAN, Appellant,
v.
VILLAGE OF HANCOCK et al., Respondents.
Court of Appeals of the State of New York.
Submitted November 11, 2002.
Decided November 21, 2002.
Appeal, insofar as taken from that portion of the Appellate Division order that affirmed the denial of appellant's motion to vacate the judgment, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such portion of the order does not finally determine the action within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
